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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                  November 06, 2020
                          UNITED STATES DISTRICT COURT
                                                                                  David J. Bradley, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION

CLIFTON HENNINGTON,                           §
                                              §
         Plaintiff,                           §
VS.                                           §   CIVIL ACTION NO. 6:20-CV-67
                                              §
KIRT STIEFER, et al,                          §
                                              §
         Defendants.                          §

                       OPINION AND ORDER OF TRANSFER



       This is a civil rights action filed by a state prisoner. Plaintiff Clifton Hennington

is currently assigned to the George Beto Unit in Tennessee Colony, Texas. (D.E. 1). The

events forming the basis for his lawsuit occurred there. (D.E. 1).

       A civil action wherein jurisdiction is not founded solely on diversity of citizenship

may be brought in (1) a judicial district where any defendant resides, if all defendants

reside in the same state, or (2) a judicial district in which a substantial part of the events

or omissions giving rise to the claim occurred. 28 U.S.C. § 1391(b). In addition, for the

convenience of parties and witnesses, and in the interest of justice, a district court may

transfer any civil action to any other district or division where it might have been

brought. 28 U.S.C. § 1404(a).


       In this case, the George Beto Unit is located in Anderson County, Texas, and the

Plaintiff is located there. All of the events about which Plaintiff complains occurred in
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Anderson County, Texas, and the Defendants are located there. (D.E. 1). Anderson

County is located in the Tyler Division of the Eastern District of Texas. 28 U.S.C. §

124(c)(1). There is no nexus to the Victoria Division of the Southern District of Texas.

The interests of justice would be served by a transfer to the Tyler Division of the Eastern

District of Texas.

       Accordingly, it is ordered that this case be transferred to the United States District

Court for the Eastern District of Texas, Tyler Division.


       ORDERED this 5th day of November, 2020.




                                              ___________________________________
                                                           Jason B. Libby
                                                    United States Magistrate Judge
